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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

     MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


WEST ALABAMA WOMEN’S               )
CENTER, et al.,                    )
                                   )        CIVIL ACTION NO.
     Plaintiffs,                   )          2:15cv497-MHT
                                   )               (WO)
     v.                            )
                                   )
THOMAS M. MILLER,                  )
M.D., in his official              )
capacity as State Health           )
Officer, et al.,                   )
                                   )
     Defendants.                   )

                                 JUDGMENT

    Upon agreement of the parties, it is the ORDER, JUDGMENT,

and DECREE of the court that the joint motion to dismiss

(doc. no. 77) is granted and that defendant H. Joseph Falgout

is dismissed without prejudice from this action.                  Defendant

Falgout and his employees, agents, and successors in office

shall be bound by the terms of any Temporary Restraining Order

and/or Injunction issued against the Attorney General and/or

any of the other defendants by any court in this action so

long as such relief remains in effect as to any party.
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However, defendant Falgout and his employees, agents, and

successors shall not be liable for any award of attorneys’

fees, costs, or other monetary damages that might be included

as part of such relief.       Nor shall defendant Falgout and his

employees, agents, and successors be bound by any relief that

is subsequently reversed, vacated, set aside, or otherwise

limited   as    to   the   Attorney      General     and/or     any      other

defendants.      However,     defendant      Falgout,    his    employees,

agents,   and   successors      may   take    no    enforcement       action

premised on a violation of SB 363 that occurred while such

relief was in effect.

    The clerk of the court is DIRECTED to terminate defendant

Falgout as a party.

    The clerk of court is DIRECTED to enter this document on

the civil docket as a final judgment pursuant to Rule 58 of

the Federal Rules of Civil Procedure.

    This case is not closed.

    DONE, this the 4th day of August, 2016.

                                  /s/ Myron H. Thompson
                               UNITED STATES DISTRICT JUDGE
